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6                             IN THE UNITED STATES DISTRICT COURT
7                          FOR THE EASTERN DISTRICT OF CALIFORNIA
8    UNITED STATES OF AMERICA,                   )      Case №: 1:23-CR-00225-1-JLT
                                                 )
9                    Plaintiff,                  )                    ORDER
                                                 )               APPOINTING COUNSEL
10           vs.                                 )
                                                 )
11   VICTOR MANUEL PEREZ,                        )
                                                 )
12                   Defendant.                  )
                                                 )
13
            The above named Defendant has, under oath, sworn or affirmed as to his financial
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15   inability to employ counsel or has otherwise satisfied this Court that he is financially unable to

16   obtain counsel and wishes counsel be appointed to represent him. Therefore, in the interests of

17   justice and pursuant to the U.S. CONST., amend VI and 18 U.S.C. § 3006A,
18
            IT IS HEREBY ORDERED that Alekxia Torres Stallings be appointed to represent
19
     Defendant effective nunc pro tunc to June 18, 2024.
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            This appointment shall remain in effect until further order of this Court or until the
21
22   pending criminal matter and any direct appeal is resolved, whichever is first.

23   IT IS SO ORDERED.
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        Dated:     June 21, 2024                               ___________________                   _
25                                                      UNITED STATES MAGISTRATE JUDGE

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